            Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 1 of 11




                             BEFORE THE UNITED STATES
                          JUDICIAL PANEL ON MULTIDISTRICT
                                     LITIGATION

     IN RE: LDS CHURCH TITHING                           MDL DOCKET NO.
     LITIGATION



          MEMORANDUM IN SUPPORT OF MOTION FOR TRANSFER AND
           CONSOLIDATION OF ACTIONS PURSUANT TO 28 U.S.C. § 1407

I.     INTRODUCTION

       Plaintiff Joel Long is a former member of the Church of Jesus Christ of Latter Day Saints

(“LDS Church”) and has filed an action against the LDS Church for misusing and

misappropriating tithes. Specifically, as detailed in Plaintiff’s complaint, Plaintiff and members

of the Class he seeks to represent paid tithes to the LDS Church based upon representations by

church representatives that the tithes would only be used for charitable, religious purposes in line

with the LDS Church’s published mission, and would not be used for commercial, profit-

generating endeavors.

       There are now five similar cases filed throughout the United States, including four class

actions with overlapping classes and relief sought, and one individual case seeking similar relief

on an individual basis (Collectively, the “LDS Cases”). See Schedule of Actions, Exhibit 1. All

of the LDS Cases seek to answer the core question of whether the LDS Church misrepresented

its intent and usage of tithes paid by members. Pursuant to 28 U.S.C. § 1407, this panel is

authorized to transfer civil actions involving one or more common questions of fact to any

district for coordinated or consolidated pretrial proceedings, and should do so for the reasons set

forth herein.




                                                 1
            Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 2 of 11




II.    LEGAL STANDARD

       Centralization pursuant to section 1407 is appropriate in scenarios where: (1) there are

"civil actions that share common factual questions and are pending across various districts"; and

(2) such consolidation is conducive to "the convenience of both parties and witnesses, and aids in

the just and efficient management of the actions." See 28 U.S.C. § 1407. The objective of this

centralization is to "avoid repetitive discovery, avert conflicting rulings in the pretrial phase, and

to economize the resources of the involved parties, their legal representation, and the judiciary."

In re: Rail Freight Fuel Surcharge Antitrust Litig. (No. II), 437 F. Supp. 3d 1365, 1365 (J.P.M.L.

2020); see also Manual for Complex Litigation (Fourth) § 20.131 (2004), referencing In re

Plumbing Fixture Cases, 298 F. Supp. 484 (J.P.M.L. 1968).


III.   ARGUMENT

       A.    This Matter Readily Meets the Requirements for Consolidation and Transfer
       Under Section 1407

               1.      There Are Numerous Common Questions of Law and Fact

       At their core, all of the LDS Cases challenge the LDS Church’s practice of making

representations that it would not use tithes for commercial, non-religious purposes, and then

doing exactly that. It is thus unsurprising that there is enormous similarity in the Classes the class

complaints seek to represent, and the theories of recovery across all of the cases. Specifically:

 Case (Jurisdiction)    Primary Class Definition            Claims
 Brawner (TN)           All persons within the United           Fraudulent Misrepresentation
                        States (including its Territories       Negligent Misrepresentation
                        and the District of Columbia)           Breach of Fiduciary Duty
                        who paid tithing to the LDS             Unjust Enrichment
                        Church from a time to be                Tennessee Consumer Protection
                        determined but no later than               Act
                        April 5, 2003 through the               Civil Conspiracy
                        present.


                                                  2
             Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 3 of 11




    Chappell (UT)        All persons in the United                 Breach of Fiduciary Duty
                         States who donated money to               Fraud & Fraudulent Inducement
                         Defendants from                           Fraudulent Concealment
                         January 1, 1998 through the               Unjust Enrichment
                         date the Class is certified.
    Huntsman (CA)        Not applicable1                           Fraud
    Long (IL)            All persons within the United             Fraudulent Misrepresentation
                         States (including its Territories         Fraudulent Concealment
                         and the District of Columbia)             Negligent Misrepresentation
                         who paid tithing to the LDS               Breach of Fiduciary Duty
                         Church from a time to be                  Unjust Enrichment
                         determined but no later than              Illinois Consumer Fraud and
                         April 5, 2003 through the                  Deceptive Business Practices
                         present.                                   Act
                                                                   Civil Conspiracy
    Risdon (WA)          All persons within the United             Fraudulent Misrepresentation
                         States (including its Territories         Breach of Fiduciary Duty
                         and the District of Columbia)             Unjust Enrichment
                         who paid tithing to the LDS               Washington Consumer
                         Church from a time to be                   Protection Act
                         determined but no later than              Civil Conspiracy
                         April 5, 2003 through the
                         present.

         The discovery that will be necessary to assess liability on all of the fraud-based claims is

substantially identical. Moreover, there is substantial overlap between those facts and those that

will form the underpinning of the fiduciary duty and unjust enrichment claims asserted in the

other actions. Thus, the core evidence in all of the LDS Cases is the same. The overwhelming

overlap between the claims and classes in the various cases to be consolidated leads to the

inexorable conclusion that consolidation is the only way to efficiently handle these claims. In re

Primevision Health Contract Litig., 206 F. Supp. 2d 1369, 1370 (J.P.M.L. 2002) (fraud actions

consolidated to eliminate duplicative discovery).




1
 While the Huntsman case does not seek certification of a class, the facts that will need to be
developed to prove liability on its fraud claim are identical to those that will need to be
developed in the class cases for their fraud-based claims.
                                                   3
           Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 4 of 11




       Once the facts are developed, the impact of that conduct is likewise consistent amongst

each of the LDS Cases. In each of the cases, a determination will need to be made as to whether

Defendants’ conduct was fraudulent and/or in violation of consumer protection statutes. In most

of the cases, there will also need to be an evaluation of whether the conduct constitutes a breach

of fiduciary duty, whether Defendants have been unjustly enriched, and whether Defendants

have engaged in a civil conspiracy. And, ultimately, there will need to be a determination of the

appropriate remedy to make Plaintiffs and the Classes they seek to represent whole. Transfer and

consolidation will ensure that all of these determinations are made in an efficient, manageable,

consistent manner.

               2.     Transfer and Consolidation Will Avoid the Unnecessary Duplication
               of Discovery and Conserve the Resources of the Parties


       Because of the overwhelming factual overlap in the allegations of the LDS Cases, the

consolidation of these actions would unquestionably eliminate the duplication of discovery and

wasting of time and money that will inevitably result in the event of piecemeal litigation in

multiple venues. This strongly supports transfer and consolidation of the LDS Cases. In re

Primevision Health Contract Litig., 206 F. Supp. 2d at 1370; In re Mirtazapine Patent Litig., 199

F. Supp. 2d 1380, 1381 (J.P.M.L. 2002) (centralization of cases necessary to eliminate

duplicative discovery and conserve the resources of the parties, their counsel and the judiciary).

               3.      There Exists a Risk of Inconsistent Rulings

       Similarly, in the absence of consolidation, there exists the possibility that different judges

overseeing these cases may rule differently on procedural or even substantive issues that will

impact the arc of the litigation in a material way. Apart from abstract considerations of

fundamental fairness and consistency, that circumstance promotes an environment where

litigants with interests that are aligned may find themselves in conflict. Consolidation provides

                                                 4
           Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 5 of 11




the opportunity for a single judge and collection of counsel to proceed with the litigation in an

orderly and consistent manner. See e.g., In re Am. Gen. Life & Accident Ins. Co. Retiree Benefits

"ERISA" Litig., 387 F. Supp. 2d 1361, 1363 (J.P.M.L. 2005) (consolidation ordered in part to

prevent inconsistent rulings).

               4.    There Are Enough Cases on File to Support Consolidation and
               Transfer


       The panel has repeatedly recognized that where, as here, there are multiple putative class

action cases with overlapping classes pending in different districts, transfer and consolidation

can make sense even when there are relatively few cases. See e.g., Cardoso v. IDT Corp. (In re

IDT Corp. Calling Card Terms Litig.), 278 F. Supp. 2d 1381 (J.P.M.L. 2003) (two cases with

overlapping putative classes sufficient to warrant consolidation); In re Pub. Air Travel Tariff

Litig., 360 F. Supp. 1397, 1399-400 (J.P.M.L. 1973) (five cases); In re Morgan Stanley & Co.,

471 F. Supp. 2d 1353 (J.P.M.L. 2006) (six cases). The five cases that would be consolidated are

more than sufficient to warrant consolidation.

       B.    The Central District of California is the Appropriate Venue for this
       Consolidated Litigation


               1.     The Most Advanced Case is Pending in the Central District of
               California

       One critically important factor in determining the appropriate transferee forum is to

consider whether pending litigation in that forum is more advanced than other actions. See In re

FMC Corp. Patent Litigation, 422 F. Supp. 1163, 1165 (Jud. Pan. Mult. Lit. 1976); see also In re

Bristol Bay, Alaska, Salmon Fishery Antitrust Litigation, 424 F. Supp. 504, 507 (Jud. Pan. Mult.

Lit. 1976). Most of the cases that are a part of this proposed consolidated proceeding have been




                                                 5
               Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 6 of 11




filed in the relatively recent past, between Halloween of this year and the present, and none of

those cases have substantively advanced beyond the filing of the complaint.

        There is, however, one notable exception – the Huntsman case – which has been pending

in the Central District of California since March 22, 2021 before Hon. Stephen V. Wilson. Judge

Wilson is no doubt more familiar with the matter than other judges overseeing the new filings.

This factor strongly supports consolidation in the Central District. In re Am. Inv'rs Life Ins. Co.

Annuity Mktg. & Sales Practices Litig., 398 F. Supp. 2d 1361, 1362 (J.P.M.L. 2005) (choosing

transferee district in part because cases there had been pending more than a year longer than

other cases and judge had developed familiarity with the issues); In re Midland Nat'l Life Ins.

Co. Annuity Sales Practices Litig., 484 F. Supp. 2d 1355, 1356 (J.P.M.L. 2007) (selecting CDCA

in part because case there was more procedurally advanced); Najarian v. Charlotte Russe, Inc.

(In re Clarlotte Russe, Inc., FACTA Litig.), 505 F. Supp. 2d 1377, 1378 (J.P.M.L. 2007)

(selecting CDCA in part because of advanced state of litigation and court’s familiarity with the

litigation).

                 2.    The Central District of California is Convenient for Travel

        It is anticipated that some litigants may propose the District of Utah as transferee venue,

as it is the location of the headquarters of the LDS Church. While the location of parties and

witnesses is a factor to be considered, it does not significantly move the needle here, where there

are plaintiffs spread out throughout the country, many in different states than the Defendants.

        Indeed, the reality of modern complex litigation is that it is uncommon for party

representatives to personally attend pretrial proceedings, and witnesses are typically deposed

where they reside, regardless of where a case is being litigated. In re A. H. Robins Co., 438 F.

Supp. 942, 943-44 (J.P.M.L. 1977). Counsel involved in this litigation are spread throughout the



                                                  6
              Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 7 of 11




country. Accordingly, most of the people involved in the active litigation of this case will

traveling for hearings and depositions. With that reality in mind, it is important to note that

comparatively speaking, the Central District of California, which is located in Los Angeles,

California, is a far more convenient venue than the District of Utah from a travel perspective.

         Most litigants will be traveling by air, and Los Angeles provides dramatically more

options in this space. Specifically, Los Angeles International Airport (LAX) alone has an

average of 833 scheduled flights per day, compared to only 430 at Salt Lake City (SLC). 2 Other

Los Angeles-area airports like Burbank (BUR), Long Beach (LGB) and even Orange County

(SNA) provide access to even more options. 3

         Additionally, the Los Angeles area has 1,000 hotels with more than 98,600 hotel rooms,

making it the 6th largest hotel market in the United States. It has an enormous quantity and

variety of hotel accommodations, easily accommodating all travel, whether for a night or a

month.4 Salt Lake City, in contrast, has 20,630 hotel rooms, only 8000 of which are in the

downtown area.5 Collectively, all of these factors favor consolidation in the Central District of

California, in Los Angeles. In re Worldcom, Inc., Sec. & ERISA Litig., 226 F. Supp. 2d 1352,

1355 (J.P.M.L. 2002) (“litigation of this scope will benefit from centralization in a major

metropolitan center that is well served by major airlines, provides ample hotel and office

accommodations, and offers a well developed support system for legal services.”).

                  3.    The Central District of California Has Significant Experience with
                  Multidistrict Proceedings




2
  See Exhibit 2, comparing data collected from www.flightradar24.com on January 5, 2024.
3
  While the Salt Lake City region does have another airport in nearby Provo, it is a municipal airport that services
airlines like Allegiant Air and Breeze Airways, which are not typically used for business travel.
4
  https://www.discoverlosangeles.com/media/facts-about-la (Accommodations Section) (last visited January 4,
2024)
5
  https://www.visitsaltlake.com/press-research/facts-info/ (last visited January 4, 2024)

                                                           7
            Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 8 of 11




        Particularly as compared to the District of Utah, the Central District of California has

significantly more experience overseeing complex multidistrict proceedings. Since 1975, the

Central District of California has seen 112 MDL proceedings through to completion, 6 and has 5

more currently pending.7 Multidistrict proceedings are far more unusual in Utah, with that

district only seeing 4 in nearly half a century, with no MDL cases currently pending, and the last

terminated 8 years ago. Judge Wilson, who is currently presiding over the Hunstman matter, has

MDL experience, presiding over In re Live Concert Antitrust Litig., MDL No. 1745.8 In

contrast, Judge Stewart, who currently presides over the Chappell matter, has not yet handled an

MDL.

        Beyond the judges, however, multidistrict litigation brings with it a collection of

logistical and administrative complications that no one in the District of Utah – from judges and

their staffs, to the clerk’s office, to all other personnel providing critical support – has had

occasion to manage in nearly a decade. These challenges are a normal part of the workday in the

Central District of California, which routinely presides over complex multidistrict matters. On

balance and in consideration of all of the foregoing, the Central District of California is much

more familiar with the administration of a complex MDL proceeding, and is thus particularly

well-equipped to handle this case.

                4.    The Central District of California Strikes the Perfect Cultural
                Balance With Respect to this Dispute as Compared to Other Potential
                Venues




6
  JPML Cumulative Terminated Report, 2022
(https://www.jpml.uscourts.gov/sites/jpml/files/JPML%20FY%202021%20Report%20Cumulative%20Terminated
%20MDLs.pdf)
7
   Pending MDLs by District as of January 2, 2024
(https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-January-2-2024.pdf)
8
   JPML Terminated Report, 2022, supra.


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                 Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 9 of 11




          Even though this case is not about religion, in a case of this nature that is tangentially

related to closely held cultural belief systems, it is important to consider the atmospherics in

assessing an appropriate venue. By a huge margin, the most significant concentration of LDS

Church members reside in Utah, but the state with the second largest population is California,

giving California a real and tangible connection to the members of the Class.

                     State                Mormon Population9
                     California           734,989
                     Utah                 2,161,526


          Of the two states with the largest number of class members, however, California

possesses several clear advantages over Utah in terms of its ability to handle a case involving the

LDS Church. Most notably, despite the large number of LDS Church members in raw numbers

in California, they make up a comparatively small percentage of the population.

    State             Mormon Population                   Overall Population10                Percentage
    Utah              2,161,526                           3,380,800                           63.9%
    California        734,989                             39,029,342                          1.8%


          This is an important distinction in the context of a case of this sort. The reality is that the

influence of the LDS Church upon all facets of life in Utah is overwhelming. The LDS Church

owns significant property, countless businesses, media outlets, and is a significant social and

economic driver for the region. Further, as retired Utah journalist Rod Decker indicated in his

book, Utah Politics: the Elephant in the Room, “Mormon dominance is the most important fact

about Utah politics, and it determines political outcomes. People don’t talk about it, but that’s

what it is.” 11


9
  https://wisevoter.com/state-rankings/mormon-population-by-state/ (last visited January 4, 2024)
10
   https://www.census.gov/data/tables/time-series/demo/popest/2020s-state-total.html#v2022 (last visited January 4,
2024)
11
   https://www.sltrib.com/news/politics/2021/01/14/latter-day-saints-are/

                                                         9
           Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 10 of 11




       California, in contrast, has a significant enough Mormon population to have an interest in

the resolution of the suit, but it does not have the cultural influence that may inadvertently seep

into the litigation as in Utah. Proceedings in California are far less likely to be impacted by

atmospherics outside of the litigation itself.

       To be clear, the undersigned counsel are not suggesting that any of the federal judges

sitting in Utah could not fairly and impartially oversee a case involving the church. Instead, it is

that allowing a Court in California, where there exists a significant but not overwhelming LDS

presence, to hear the matter frees Utah court personnel from the pressures – express or implied –

that may come from external local forces that might call that impartiality into question.

IV.    CONCLUSION


       The LDS Church cases uniformly challenge the LDS Church’s representations and use of

tithes for non-religious, commercial purposes. The overwhelming commonality in legal and

factual issues across the cases underscores the need for a unified pretrial process. The risks of

duplicative discovery and inconsistent rulings are significant if these cases proceed separately,

potentially leading to inefficiency and unfair outcomes. Consolidation is thus crucial to ensure

efficient judicial management, eliminate redundant discovery, and avoid conflicting pretrial

rulings.

       Moreover, the Central District of California emerges as the most suitable venue for this

consolidated litigation. The Huntsman case in this district is far more procedurally advanced than

any other case, and Judge Wilson's familiarity with the issues strengthens this choice.

Additionally, the logistical and administrative capabilities of the Central District, along with its

geographical convenience and balanced cultural representation, make it an ideal location for

these proceedings.


                                                  10
           Case MDL No. 3102 Document 1-1 Filed 01/05/24 Page 11 of 11




       Accordingly, transfer and consolidation in the Central District of California not only

align with the legal standards set forth in 28 U.S.C. § 1407 but also serve the interests of justice

and judicial efficiency. Thus, this Panel should grant the motion for transfer and consolidation,

and consolidate the LDS Church Cases in the Central District of California.


Dated: January 5, 2024                                 s/ James J. Rosemergy
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